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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


CYNTHIA WARMBIER, individually and )
as personal representative of the Estate of )
Otto Warmbier,                               )
                                             )
FREDERICK WARMBIER, individually )
                                             )
and as personal representative of the Estate
                                             )
of Otto Warmbier,                            )
                                             )
      Plaintiffs,                            )
                                             )
v.                                           ) Civil Case No. 1:18-cv-00977 (BAH)
                                             )
DEMOCRATIC PEOPLE’S REPUBLIC )
OF KOREA,                                    )
                                             )
      Defendant.                             )



                                  [PROPOSED] ORDER

       Having considered Plaintiffs’ Motion for Default Judgment against Defendant Democratic

People’s Republic of Korea filed on October 10, 2018, it is hereby ordered that the motion is

GRANTED. The Estate of Otto Warmbier, through Plaintiffs Cynthia Warmbier and Frederick

Warmbier, is awarded compensatory damages in the amount of $_____________ and punitive

damages in the amount of $______________.        Plaintiffs Cynthia Warmbier and Frederick

Warmbier are each awarded solatium damages in the amount of $_____________ and punitive

damages in the amount of $_____________.



       IT IS SO ORDERED,

Date: ________________                            ___________________________
                                                  Chief Judge Beryl A. Howell
                                                  United States District Court


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